
PER CURIAM.
This cause has been orally argued before the court, and the briefs and record on appeal have been read and given full consideration. It is our view that the newly discovered evidence which forms the basis of the petition for writ of error coram nobis is not such that, had it been known to the court prior to the entry of judgment, it would have prevented the judgment that was rendered. This being true, the petition was not well-founded in law, and the trial court was correct in refusing to issue the writ.1 The judgment assaulted in this proceeding was appealed to this court by appellant and has resulted in our decision reversing the judgment and remanding the cause for a new trial by opinion filed this date.
WIGGINTON, Acting C. J., and JOHNSON and SACK, TJ., concur.

. La Recca v. State, (Fla.App.1963) 151 So.2d 64, 66.

